Case 2:03-Cr-20357-BBD Document 88 Filed 05/19/05 Page 1 of 2 Page|D 114

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,
Plaintiff,
vs. CR. NO. 03-20357-Ma

TERRY BROWN,

~__,-__,~_/V-__,~__/\_,`_,~__,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a hearing on May 12, 2005. At the
conclusion of the hearing, defense counsel requested a continuance
of the trial date in order to allow for additional preparation in
the case.

The Court granted the request and continued the trial to the
rotation docket beginning June 6, 2005 at 9:30 a.m., with a report
date of Tuesday, May 31, 2005 at 2:00 p.m.

The period from May 12, 2005 through June 17, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this 'g*<` day Of M;;}rZOOS.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

